      Case 1:24-cv-03220-DLF          Document 31-2       Filed 03/04/25     Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

       Plaintiffs,

       v.                                                       Case No. 24-CV-3220 (DLF)

ROBERT F. KENNEDY, JR., et al.,

       Defendants.


BRISTOL MYERS SQUIBB COMPANY,

       Plaintiff,

v.                                                              Case No. 24-CV-3337 (DLF)

ROBERT F. KENNEDY, JR., et al.,

       Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

       Plaintiff,
                                                                Case No. 25-CV-0117 (DLF)
v.

ROBERT F. KENNEDY, JR., et al.,

       Defendants.


                                            ORDER

       Upon consideration of the March 4, 2025 unopposed Motion for Leave to File Amicus Brief

in Support of Defendants, filed by the American Hospital Association, the National Association

of Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association of American
       Case 1:24-cv-03220-DLF           Document 31-2        Filed 03/04/25     Page 2 of 2




Medical Colleges, and America’s Essential Hospitals, and the entire record herein, it is hereby, for

good cause shown:

          1.    ORDERED that the March 4, 2025 Motion for Leave to File Amicus Brief in

Support of Defendants, filed by the American Hospital Association, the National Association of

Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association of American

Medical Colleges, and America’s Essential Hospitals shall be and hereby is GRANTED; and it is

further

          2.    ORDERED that the American Hospital Association, the National Association of

Children’s Hospitals, Inc., d/b/a Children’s Hospital Association, the Association of American

Medical Colleges, and America’s Essential Hospitals shall be and hereby are GRANTED LEAVE

to file an amicus brief in support of Defendants; and it is further

          3.    ORDERED that the Clerk shall cause the amici curiae brief attached to the March

4, 2025 Motion for Leave to File Amicus Brief in Support of Defendants, filed by the American

Hospital Association, the National Association of Children’s Hospitals, Inc., d/b/a Children’s

Hospital Association, the Association of American Medical Colleges, and America’s Essential

Hospitals to be filed and entered on the docket in the above-captioned proceeding; and it is further

          4.    ORDERED that the Clerk shall cause copies of this Order to be delivered to all

parties of record.


          So ORDERED this ___________ day of _________________, 2025



                                               _______________________________
                                               DABNEY L. FRIEDRICH
                                               United States District Judge
